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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

UNITED STATES OF AMERICA              §
                                      §
             v.                       §         Criminal No. H-12-503
                                      §
JASON DANIEL GANDY                    §


                    GOVERNMENT'S NOTICE OF INTENT
                     TO PRESENT EXPERT TESTIMONY

      COMES NOW the United States of America, by Ryan K. Patrick, the United

States Attorney, and through Sherri L. Zack, Assistant United States Attorney for the

Southern District of Texas, and files this Notice of Intent to Present Expert Testimony

pursuant to Federal Rule of Criminal Procedure 16(a)(1)(G).

                                          I.

      Trial on this matter is currently scheduled for March 5, 2018.

                                          II.

1.    Notice is hereby given that the Government intends to present the expert

testimony of Special Agent Jeffery G. Chappell – Computer Forensics Examiner -

United States Homeland Security Investigations during its case in chief. A copy of

Special Agent Chappell’s= Curriculum Vitae was provided to defense counsel.




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2.    Chappell, relative to the investigation of the crimes charged found on the Acer

laptop and the HTC phone seized at the airport pursuant to border searches on July 20,

2012, would, in substance, testify to the following:

      1) The process of forensically examining and searching a computer, computer

media and/or cell phone for child pornography and other relevant evidence to the

crimes charged;

      2) The tests and software programs conducted and used in this case; and

      3) The results of the forensic examinations conducted, including but not limited

to, the number of child pornography images found, their location, file paths and creation

dates, the program information contained on the computer, computer media, and

cellphone, file and directory structure, EXIF data, and the presence of any subscriber

or user identifying information located on same.

         In essence, the substance of Chappell's expected testimony will be consistent

with the conclusions summarized in his forensic reports provided in discovery.

      Additionally, Chappell would testify concerning evidence of ownership, user

activity, and the set-up of the devices.




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                              Respectfully Submitted,

                              RYAN K. PATRICK
                              UNITED STATES ATTORNEY


                        By:   s/ Sherri L. Zack
                              Sherri L. Zack
                               Assistant United States Attorney
                               I000 Louisiana, Suite 2300
                               Houston, TX 77002




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                                 Certificate of Service

I hereby certify that a true and correct copy of the above notice was sent via ECF to the

attorney for the defendant on this 8th day of January 2018.




                                                    s/ Sherri L. Zack
                                                    Sherri L. Zack
                                                    Assistant United States Attorney




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